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 1 Stephen Bernard, Esq. (SBN 56553)
   BERNARD & BERNARD
 2 One Westwood, Suite 1175
   10990 Wilshire Boulevard
 3 Los Angeles, California 90024
   Ph.: (310) 312-0220; Fax: (310) 312-0016
 4
     Attorneys for Plaintiffs, MARCOS CASTANEDA, and
 5   E.C., a minor, by and through his guardian ad litem,
     MARCOS CASTANEDA
 6
                           UNITED STATES DISTRICT COURT
 7                        CENTRAL DISTRICT OF CALIFORNIA
 8
 9    MARCOS CASTANEDA, individually               CASE NO.: LACV15-07932
      and as Successor in Interest of Decedent     JAK(FFMx)
10    NORMA ANGELICA GUZMAN; E.C.,                 (consolidated with Case No.
      a minor, by and through his Guardian ad      LACV16-03101 JAK(FFMx))
11    litem MARCOS CASTANEDA,
      individually, and as Successor in Interest   FIRST AMENDED COMPLAINT:
12    of Decedent NORMA ANGELICA
      GUZMAN; ESTATE OF NORMA                      1. VIOLATION OF FEDERAL
13    ANGELICA GUZMAN, by and through                 CIVIL RIGHTS [42 U.S.C.
      successors in interest, MARCOS                  §1983];
14    CASTANEDA and E.C., a minor, by
      and through his Guardian Ad Litem            2. DEPRIVATION OF CIVIL
15    MARCOS CASTANEDA,                               RIGHTS UNDER COLOR OF
                                                      LAW: LIABILITY FOR
16                 Plaintiffs,                        UNCONSTITUTIONAL
                                                      CUSTOMS AND PRACTICES
17    v.                                              [42 U.S.C. 1983];
18    CITY OF LOS ANGELES; LOS                     3. WRONGFUL
      ANGELES POLICE DEPARTMENT;                      DEATH / SURVIVAL ACTION:
19    OFFICER SAMUEL BRIGGS;                          ASSAULT AND BATTERY;
      OFFICER ANTONIO MCNEELY;
20    AND Does 1 through 50, inclusive;            4. WRONGFUL
                                                      DEATH / SURVIVAL ACTION:
21                                                    NEGLIGENCE;
                   Defendants.
22                                                 5. VIOLATION OF THE RALPH
                                                      CIVIL RIGHTS ACT [Cal. Civ.
23                                                    Code § 51.7];
24                                                 6. VIOLATION OF THE BANE
                                                      CIVIL RIGHTS ACT [Cal. Civ.
25                                                    Code § 51.2];
26                                                 7. NEGLIGENT HIRING,
                                                      TRAINING & SUPERVISION.
27
                                                   DEMAND FOR JURY TRIAL
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 1         COME NOW, Plaintiffs Macros Castaneda, E.C., a minor, by and through his
 2   guardian ad litem Marcos Castaneda, and Estate of Norma Angelica Guzman, by and
 3   through successors in interest, Marcos Castaneda and E.C. (hereinafter collectively
 4   referred to as “Plaintiffs”), hereby allege and complain as follows:
 5                                     INTRODUCTION
 6         1.     On September 27, 2015, a 37 year old mentally ill woman Norma Guzman
 7   was mercilessly and inhumanly shot and killed in broad daylight by two Los Angeles
 8   Police Department (hereinafter “LAPD”) officers. There was no cause, provocation or
 9   justification for the use of lethal force on Ms. Guzman. Norma Guzman left surviving a
10   16 year old son and a husband who now bring this action. This suit is meant to redress
11   the killing of the loving mother and wife in violation of all fundamental constitutional
12   rights, but also to uncover the ongoing and persistent despicable LAPD pattern and
13   practice of repeatedly using excessive and lethal force on mentally ill individuals.
14                                      JURISDICTION
15         2.     This action arises under Title 42 of the United States Code, Sections 1983
16   and 12132. Jurisdiction is conferred upon this Court by Title 28 of the United States
17   Code, §§ 1331 and 1343. The unlawful acts and practices alleged herein occurred in the
18   City and County of Los Angeles, California, which is within this judicial district.
19                                          PARTIES
20         3.     At all relevant times, Norma Angelica Guzman (hereinafter “Decedent”) was
21   an individual residing in the City of Los Angeles, California. The claims made by the
22   Plaintiff Estate of Norma Guzman are brought by Marcos Castaneda and E.C., a minor,
23   as successors in interest pursuant to California Code of Civil Procedure §377.30 et seq.
24         4.     Plaintiff Marcos Castaneda is the surviving spouse of Decedent and at all
25   times mentioned herein was an individual residing in Los Angeles County, State of
26   California. Marcos Castaneda, individually, is an heir at law of Decedent as defined by
27   the California Code of Civil Procedure §377.60(a) and elsewhere has the legal standing
28   to maintain an action for wrongful death based upon the death of his spouse, Norma
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 1   Angelica Guzman, under California Code of Civil Procedure §377.60. Plaintiff Marcos
 2   Castaneda may maintain causes of action under 42 U.S.C. §1983 as a Federal Wrongful
 3   Death Action and recover damages for the value of Decedent’s life and Decedent’s pain
 4   and suffering under cases interpreting 42 U.S.C. §1983, and violation of California Civil
 5   Code §§51.7, 52 and 52.1.
 6         5.     Plaintiff E.C., a minor, by and through his Guardian ad litem Marcos
 7   Castaneda, is the surviving child of Decedent and at all times mentioned herein was an
 8   individual residing in Los Angeles County, State of California. E.C., individually, is an
 9   heir at law of Decedent as defined by the California Code of Civil Procedure §377.60(a)
10   and elsewhere has the legal standing to maintain an action for wrongful death based upon
11   the death of his mother, Norma Angelica Guzman, under California Code of Civil
12   Procedure §377.60. Plaintiff E.C., a minor, by and through his Guardian ad litem Marcos
13   Castaneda, may maintain causes of action under 42 U.S.C. §1983 as a Federal Wrongful
14   Death Action and recover damages for the value of Decedent’s life and Decedent’s pain
15   and suffering under cases interpreting 42 U.S.C. §1983, and violation of California Civil
16   Code §§51.7, 52 and 52.1.
17         6.     Defendant Officer Samuel Briggs (hereinafter “Officer Briggs”) is and at all
18   times mentioned herein was, an Officer employed by the LAPD, who was acting within
19   the course and scope of his employment at the time he undertook the activities alleged
20   herein and was, at all times herein mentioned, acting under color of law as an employee,
21   agent, and representative of every other Defendant.
22         7.     Defendant Officer Antonio McNeely (hereinafter “Officer McNeely”) is and
23   at all times mentioned herein was, an Officer employed by the LAPD, who was acting
24   within the course and scope of his employment at the time he undertook the activities
25   alleged herein and was, at all times herein mentioned, acting under color of law as an
26   employee, agent, and representative of every other Defendant.
27         8.     Plaintiffs are informed and believe that Defendant City of Los Angeles
28   (hereinafter “City”) is an incorporated municipality doing business in the State of
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 1   California with its principal place of business in Los Angeles, and the employer of the
 2   individual officers named as Defendants in this action.
 3          9.      Plaintiffs are informed and believe and thereon allege that Defendant Los
 4   Angeles Police Department (hereinafter “LAPD”), is a public entity existing within the
 5   State of California, County of Los Angeles. Plaintiffs are informed and believe that
 6   Defendant LAPD is and was the official police agency for the CITY, at all times
 7   mentioned herein, and is the employer of the individual officers named as Defendants in
 8   this action.
 9          10.     Plaintiffs are informed and believe that Defendant Does 3-50 are
10   supervisors, officers and/or staff of the LAPD and/or City and are fictitiously named
11   individuals whose true names are unknown to Plaintiffs at this time. The true names and
12   capacities of Does 3-50 are unknown to Plaintiffs, who therefore sue said Defendants by
13   such fictitious names and will amend this complaint to allege their true names and
14   capacities when ascertained. Plaintiffs are informed and believe and based thereon allege
15   that each of the fictitious named defendants are responsible for the acts complained of
16   herein. At all times herein mentioned Does 1-50 were acting under the color of law, to
17   wit, under the color of the statutes, ordinances, regulations, policies, customs, and usages
18   of Defendants City and LAPD and as an employee, agent and representative of every
19   Defendant. Does3 through 50 are sued in their official and individual capacity.
20          11.     At all relevant times herein, each of the defendants herein, were the agents,
21   servants, or employees of the remaining Defendants acting under color of state and/or
22   federal law, and was at all times acting within the time, purpose or scope of said agency
23   or employment, and was acting within the express or implied knowledge, permission or
24   consent of the remaining Defendants, and each of them. Each of the Defendants held out
25   the other as its authorized representative and each of the Defendants ratified the conduct
26   of its agents. At all times herein mentioned, Does 3-50, inclusive, were and are the
27   Defendants whose identity is unknown at this time who supervised, controlled, or were
28   in some manner responsible for the activities alleged herein and proximately caused
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 1   Plaintiffs’ damages.
 2                               FACTUAL ALLEGATIONS
 3          12.   At the time of the subject incident Decedent was 37 years old. She was
 4   known in the community as someone who suffered from mental illness and completely
 5   harmless, a fact also known to Defendants.
 6          13.   On Sunday, September 27, 2015, at approximately 9:30 a.m., Decedent was
 7   lawfully walking along the sidewalk of East 22nd Street and South San Pedro Street, in
 8   the City of Los Angeles, California 90011.She was then and there confronted by
 9   uniformed Defendant Officers Briggs and McNeely who were acting within the course
10   and scope of their duties as employees of LAPD and representatives of City.
11          14.   On information and belief, Officers Briggs and McNeely were acting on an
12   anonymous 911 call reporting irregular activity. They drove up to the location of the
13   Decedent and stopped their patrol vehicle in the number 2 lane adjacent to two parked
14   vehicles. They then exited their patrol vehicle, immediately drawing their weapons, and
15   ordered Decedent to approach.
16          15.   Decedent complied with Officers’ Briggs and McNeely orders without
17   incident and started walking slowly and in a nonthreatening manner towards the patrol
18   car.
19          16.   Within moments, Officers Briggs and McNeely, without cause, justification
20   and/or provocation, intentionally fired multiple live rounds of ammunition into the upper
21   torso of Decedent, which caused her grave bodily injuries, pain and suffering, and
22   subsequent death at a nearby hospital where she was taken shortly thereafter.
23          17.   Plaintiffs are informed, believe and thereon allege that Decedent was known
24   to Officers Briggs and McNeely, City, LAPD and Does 1-50 to be mentally challenged
25   and completely harmless.
26          18.   At the time Decedent was approached by Officers Briggs and McNeely, she
27   was not acting in the commission of any crime, did not threaten or otherwise pose an
28   immediate threat of death or serious bodily injury to Officers Briggs and McNeely or the
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 1   general public, and was compliant with the Officers’ Briggs and McNeely orders.
 2         19.       The activities undertaken by Officers Briggs and McNeely constituted an
 3   inappropriate seizure of a person under the Fourth Amendment of the United States
 4   Constitution as Decedent was: (1) not acting in the commission of any crime when
 5   approached by both Officers Briggs and McNeely; (2) compliant with both police officers
 6   orders; (3) mentally challenged, a fact known to each of the Defendants prior to the
 7   shooting of Decedent.
 8         20.       The repeated discharge of their firearms by Defendants Officers Briggs and
 9   McNeely upon Decedent constituted excessive force in violation of the Fourth and
10   Fourteenth Amendment of the United States Constitution and state laws.
11         21.       The actions of Defendants, and each of them, were in violation of the Fourth
12   and Fourteenth Amendments of the United States Constitution and the action undertaken
13   by Defendants constituted an unjustified seizure of his person, deprivation of his liberty
14   interest, excessive force and were in violation of Decedent’s civil rights under color of
15   law under 42 U.S.C. §1983 and other sections of the United States Code as more fully set
16   forth herein.
17         22.       Plaintiffs are informed, believe and thereon allege, that Defendants City,
18   LAPD, Officers Briggs and McNeely, and Does 1 through 50, and their decision makers,
19   acted with deliberate indifference, gross negligence, and reckless disregard for the safety,
20   security and constitutional and statutory rights of Decedent and Plaintiffs, and all persons
21   similarly situated, maintained, enforced, tolerated, permitted, acquiesced in, and applied
22   policies, practices or customs and usages of among other things: subjecting peopled to
23   unreasonable uses of force against their persons:
24                   a.    selecting, retaining and assigning employees with demonstrable
25   propensities for excessive force, violence and other misconduct;
26                   b.    failing adequately train, supervise and control employees in the
27   dangers of repeated discharge of firearms including, without limitation, the use of
28   potentially lethal tactics on individuals who may have pre-existing medical conditions
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 1   which make such tactics unreasonably dangerous;
 2                c.     condoning and encouraging officers in the belief that they can violate
 3   the rights of persons such as Decedent in this action with impunity, and that such conduct
 4   will not adversely affect their opportunities for promotion and other employment benefits.
 5         23.    Plaintiffs are informed and believe and thereon allege that Defendants City
 6   and/or LAPD have longstanding custom, policy and practice of violating civil rights,
 7   including excessive use of force and other similar actions, and ordered, authorized,
 8   acquiesced in, tolerated, permitted or maintained custom and usages permitting the other
 9   defendants herein to engage in the unlawful and unconstitutional actions, policies,
10   practices and customs or usages set forth in the foregoing paragraph. Defendants’ conduct
11   as alleged herein constitutes a pattern of unconstitutional violations based either on a
12   deliberate plan by defendants or on defendants’ deliberate indifference, gross negligence,
13   or reckless disregard to the safety, security and rights of Plaintiffs and Decedent.
14         24.    Plaintiffs allege that Defendants, and each of them, acted in violation of the
15   United States Constitution and that Decedent’s constitutional rights were violated.
16   Defendants, and each of them, acted in violation of Decedent’s constitutional rights under
17   the Fourth and Fourteenth Amendment to the United States Constitution. Decedent was
18   subjected to an excessive amount of force where she had committed no criminal act,
19   engaged in no suspicious criminal activity, and was seized without probable cause by
20   Defendants while acting under color of law, pursuant to their actual apparent authority.
21         25.    As a result of the repeated unconstitutional actions of Defendants, and each
22   of them, Decedent died. Plaintiffs have suffered, and continue to suffer, devastating and
23   overwhelming severe emotional distress, disgust, shock, anger, fright, nervousness, and
24   terror. Plaintiffs have further suffered economic and non-economic damages.
25   ///
26   ///
27   ///
28   ///
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 1                                  FIRST CAUSE OF ACTION
 2                        VIOLATION OF FEDERAL CIVIL RIGHTS
 3                                        [42 U.S.C. §1983]
 4    (Against Defendants Officer Samuel Briggs, Officer Antonio McNeely and Does
 5                                         1-50, inclusive)
 6         26.       Plaintiffs hereby incorporate Paragraphs 1 through 25, as though fully set
 7   forth herein.
 8         27.       This cause of action is to redress a deprivation, under color of authority,
 9   statute, ordinance, regulation, policy, custom, practice or usage of a right, privilege, and
10   immunity secured to Plaintiffs by the Fourth and Fourteenth Amendments to the United
11   States Constitution.
12         28.       Defendants, and each of them, owed a duty of ordinary care to avoid harm
13   to Decedent.
14         29.       Plaintiffs contend and herein allege that Defendant Officers Briggs and
15   McNeely, and Does 1 through 50, when they shot and killed Decedent, violated her right
16   to be free from unreasonable search and seizures as guaranteed under the Fourth and
17   Fourteenth Amendment to the United States Constitution. Further, at the time Decedent
18   was shot and killed she posed no danger to Defendant Officers Briggs and McNeely, and
19   Does 1 through 50 or the general public. She was therefore subjected to excessive force
20   in violation of the Fourth and Fourteenth Amendment of the United States Constitution.
21         30.       Plaintiffs further contend and allege that Defendant Officers’ Briggs and
22   McNeely, and Does’ 1 through 50 shooting and killing of Decedent was willful and done
23   with either actual malice or deliberate indifference to Decedent’s civil rights and safety,
24   and therefore, warrants the imposition of punitive damages.
25         31.       The actions of Defendant Officers Briggs and McNeely, and Does 1 through
26   50, as aforesaid, violated the Fourth and Fourteenth Amendments of the United States
27   Constitution and violated 42 U.S.C. §1983. The violation of Decedent’s civil rights
28   directly and proximately caused the injuries and damages to Plaintiffs as more fully set
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 1   forth below.
 2         32.      The false and illegal seizure and use of excessive force upon Decedent was
 3   in violation of his civil rights to be free from the unreasonable search and seizure of his
 4   person, to be free from the loss of his physical liberty interest, and denial of substantive
 5   due process under the Fourth and Fourteenth Amendments of the United States
 6   Constitution. In addition, in taking the aforesaid actions of Defendant Officers Briggs and
 7   McNeely, and Does 1 through 50, violated Decedent’s civil rights, by being deliberately
 8   indifferent to Decedent’s physical security, as set forth in Wood v. Ostrander, 879 F.2d
 9   583 (1983).
10         33.      Defendant Officers Briggs and McNeely, and Does 1 through 50 violated
11   Decedent’s and Plaintiffs’ civil rights by using the degree of physical coercion which was
12   not objectively reasonable under the circumstances. Decedent, who was know to
13   Defendants to be mentally challenged and posed no threat to anyone, including
14   Defendants, was cooperative with the officers and had committed no crime. Defendant
15   Officers’ Briggs and McNeely, and Does’ 1 through 50 use of excessive force was
16   unreasonable and in violation of Decedent’s civil rights under the Fourth and Fourteenth
17   Amendments of the United States Constitution to be free from an unreasonable seizure
18   of his person and to be free from a loss of physical liberty.
19         34.      Defendant Officers’ Briggs and McNeely, and Does’ 1 through 50 use of
20   excessive force was unreasonable and in violation of Decedent’s and Plaintiffs’ civil right
21   and violated the Fourteenth Amendment of the United States Constitution as their actions
22   were sadistic and malicious and did not further any legitimate purpose.
23         35.      As a direct and proximate result of the conduct of said Defendants, and each
24   of them, Decedent suffered the following injuries and damages for which Plaintiffs may
25   recover:
26         a.       Violation of Decedent’s constitutional rights under the Fourth and
27                  Fourteenth Amendments to the United States Constitution to be free from
28                  unreasonable search and seizure of his person, deprivation of life and liberty
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  1                   and denial of due process of law;
  2          b.       Loss of the life of Norma Guzman, including the value of her life;
  3          c.       Conscious physical pain, suffering and emotional trauma during the
  4                   incident.
  5          36.      As a direct and proximate result of the actions of said Defendants, and each
  6   of them, Plaintiffs have also suffered the following injuries, including but not limited to:
  7                   a.    Loss of love, aide, comfort, and society due to the death of Decedent,
  8   brought on by the Defendants’ violation of Plaintiffs rights to be free from police
  9   interference with their relationship with Decedent;
 10                   b.    Loss of economic support, and
 11                   c.    Funeral and burial expenses according to proof.
 12          37.      The conduct of said Defendants, and each of them was reckless and acted
 13   with callous indifference to the federally protected rights of Decedent and Plaintiffs.
 14   Defendants engaged in despicable conduct with using unreasonable and excessive force
 15   and were malicious and in reckless and conscious disregard for the rights and individual
 16   safety of Plaintiffs and Decedent. As such, Plaintiffs are entitled to the punitive damages
 17   in accord with constitutionally permitted limits to punish and make an example of the
 18   individual Defendant officers.
 19          38.      Plaintiffs are entitled to an award of attorneys’ fees, costs and expenses
 20   under 42 U.S.C. 1983, as a result of Defendants’s violations of Decedent’s and Plaintiffs’
 21   civil right.
 22                                SECOND CAUSE OF ACTION
 23               DEPRIVATION OF CIVIL RIGHT UNDER COLOR OF LAW
 24     (Against Defendants City of Los Angeles, Los Angeles Police Department and
 25                                  Does 1 through 50, inclusive)
 26          39.      Plaintiffs hereby incorporate Paragraphs 1 through 38, as though fully set
 27   forth herein.
 28          40.      At all times herein mention, Defendant City, LAPD and Does 1 through 50
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  1   maintained a custom, policy and practice to allow the violation of civil rights and use of
  2   excessive force on mentally ill individuals.
  3         41.    Prior to September 27, 2015, Defendants City, LAPD and Does 1 through
  4   50 developed and/or maintained policies or custom of exhibiting deliberate indifference
  5   to the constitutional rights of mentally ill individuals.
  6         42.    It was the policy and/or custom of Defendants City, LAPD and Does 1
  7   through 50 to inadequately train and supervise its officers in conducting seizures of
  8   mentally ill individuals, thereby failing to adequately discourage further constitutional
  9   violations on the part of its officers. Defendants City, LAPD and Does 1 through 50 were
 10   aware that Defendant Officers Briggs and McNeely and various other LAPD officers, had
 11   not received proper and necessary training in safely dealing with persons with mental
 12   illnesses. As such, Defendants City, LAPD and Does 1 through 50 acted with deliberate
 13   indifference to the rights and liberties of the Plaintiffs, Decedent and public in general.
 14   Said Defendants knowingly allowed Defendant Officers Briggs and McNeely to
 15   undertake patrol in the City of Los Angeles without proper training in the handling of
 16   persons with mental illness. Said Defendants knew that such untrained officers would
 17   encounter persons with mental illness and would respond with inappropriate and
 18   excessive force.
 19         43.    As a result of the above-described policies and/or customs, officers of
 20   Defendants City and LAPD, including Defendant Officers Briggs and McNeely, believed
 21   that their actions would not be properly monitored by supervisory officers and that
 22   misconduct would not be investigated or sanctioned, and would be tolerated and
 23   accepted.
 24         44.    The above-described policies and customs demonstrated deliberate disregard
 25   on the part of Defendants City, LAPD and Does 1 through 50, to the constitutional rights
 26   of persons within their jurisdiction, and foreseeable effects and consequences of these
 27   custom/practice with respect to the constitutional rights of Decedent, Plaintiffs and other
 28   similarly situated, and were the cause of the violations of Decedent’s and Plaintiffs’ civil
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  1   rights as alleged herein.
  2         45.    Defendants City, LAPD and Does 1 through 50 together with various
  3   officials, whether named or unnamed, had either actual or constrictive knowledge of the
  4   deficient custom and practice alleged hereinabove. Despite having knowledge as stated
  5   above, said Defendants condoned, tolerated and through actions and inactions ratified
  6   such custom and practice.
  7         46.    As a direct and proximate result of the conduct of Defendants, and each of
  8   them, Decedent suffered the following injuries and damages for which Plaintiffs may
  9   recover:
 10                a.     Violation of Decedent’s constitutional rights under the Fourth and
 11   Fourteenth Amendments to the United States Constitution to be free from unreasonable
 12   search and seizure of his person, deprivation of life and liberty and denial of due process
 13   of law;
 14                b.     Loss of the life of Decedent, including the value of her life;
 15                c.     Conscious physical pain, suffering and emotional trauma during the
 16   incident.
 17         47.    As a direct and proximate result of the actions of Defendants, and each of
 18   them, Plaintiffs have also suffered the following injuries, including but not limited to:
 19                a.     Loss of love, aide, comfort, and society due to the death of Decedent,
 20   brought on by the Defendants’ violation of Plaintiffs rights to be free from police
 21   interference with their relationship with Decedent;
 22                b.     Loss of economic support, and
 23                c.     Funeral and burial expenses according to proof.
 24         48.    The conduct of Defendant was reckless and constituted callous indifference
 25   to the federally protected rights of Decedent and Plaintiffs. Defendant and each of them,
 26   engage in despicable conduct by using excessive force and was malicious and in reckless
 27   and conscious disregard for the rights and individual safety of Plaintiffs. Plaintiffs are
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  1   entitled to punitive damages in accord with statutorily permitted limits to punish and
  2   make an example.
  3          49.      Plaintiffs are entitled to an award of attorneys’ fees, costs and expenses
  4   under 42 U.S.C. 1983, as a result of Defendants’s violations of Decedent’s and Plaintiffs’
  5   civil rights.
  6                                 THIRD CAUSE OF ACTION
  7     WRONGFUL DEATH / SURVIVAL ACTION: ASSAULT AND BATTERY
  8                                    (Against All Defendants)
  9          50.      Plaintiffs hereby incorporate Paragraphs 1 through 49, as though fully set
 10   forth herein.
 11          51.      On Sunday, September 27, 2015, Decedent Norma Angelica Guzman,
 12   known to be mentally challenged to all Defendants, was lawfully walking along the
 13   sidewalk of East 22nd Street and South San Pedro Street in the City of Los Angeles,
 14   California, posing no threat to anyone, nor breaking the law and had fully complying with
 15   the police officers’ order by walking slowly and in a nonthreatening way toward the
 16   patrol car.
 17          52.      Thereafter, Defendant Officers McNeely and Briggs, in the course and scope
 18   of their employment with Defendants City and LAPD, seized and shot Decedent Norma
 19   Angelica Guzman multiple times with their firearms, and assaulted and battered Decedent
 20   Norma Angelica Guzman who died shortly thereafter at a nearby hospital. Plaintiffs are
 21   informed and believe and thereon allege that Defendant Officers McNeely and Briggs,
 22   unnecessarily, intentionally and unsafely discharged their firearms at Decedent Norma
 23   Angelica Guzman.
 24          53.      Defendant Officers McNeely and Briggs, and Does 3 through 50, LAPD, and
 25   City, and each of them, intended to cause, and did cause, Plaintiffs to suffer serious
 26   physical and emotional harm as the result of the intentional and unnecessary application
 27   of force to Decedent Norma Angelica Guzman.
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  1         54.       Defendant Officers McNeely and Briggs, and Does 3 through 50, and each
  2   of them, are therefore liable for battery upon Decedent Norma Angelica Guzman.
  3   Additionally, Defendants City and/or the LAPD are responsible for the conduct of their
  4   employees on a theory of respondeat superior.
  5         55.       As a direct and proximate result of the actions of Defendants, and each of
  6   them, Plaintiffs have also suffered the following injuries, including, but not limited to:
  7                   a.    Loss of love, aide, comfort, future support, community, affection,
  8   society, presence, companionship, protection, consortium, counsel, contributions,
  9   accumulations, inheritance and right of inheritance of Decedent Norma Angelica
 10   Guzman, according to proof;
 11                   b. Loss of economic support of Decedent Norma Angelica Guzman; and
 12                   c.    Funeral and burial expenses according to proof.
 13         56.       Defendants Officers McNeely and Briggs, and Does 3 through 50, inclusive,
 14   and each of them, in deliberately shooting and killing Decedent Norma Angelica Guzman
 15   without justification and in disregard of her civil rights and liberties, subjected Decedent
 16   Norma Angelica Guzman to despicable conduct in conscious disregard of her rights,
 17   thereby entitling Plaintiffs to punitive damages.
 18                                FOURTH CAUSE OF ACTION
 19            WRONGFUL DEATH / SURVIVAL ACTION: NEGLIGENCE
 20                                    (Against All Defendants)
 21         57.       Plaintiffs hereby incorporate Paragraphs 1 through 56, as though fully set
 22   forth herein.
 23         58.       On Sunday, September 27, 2015, Defendant Officers McNeely and Briggs,
 24   and Does 1 through 50, while in the course and scope of their employment with LAPD
 25   and as acting as representatives of the City, negligently discharged their firearms,
 26   multiple times at and upon the Decedent Norma Angelica Guzman, such that she
 27   sustained fatal injuries and died shortly thereafter at the hospital.
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  1          59.      As a direct, legal and proximate result of Defendant Officers’ McNeely and
  2   Briggs, and Does 1 through 50, inclusive, negligence, Plaintiffs suffered emotional
  3   distress.
  4          60.      At all times herein mentioned, Defendant Officers McNeely and Briggs, and
  5   Does 1 through 50, inclusive, failed to follow procedural dictations and recklessly and/or
  6   negligently caused injuries and the death of Decedent Norma Angelica Guzman.
  7          61.      Each of the individual Defendants and the municipal Defendants acted in
  8   concert without authorization of law and each of the individual defendants, separately and
  9   in concert, acted negligently with reckless disregard and callous indifference, and
 10   purposely with the intent to deprive Plaintiffs of their rights and privileges, and did in fact
 11   violate the aforementioned rights and privileges.
 12          62.      As a direct and proximate result of the actions of Defendants Officers
 13   McNeely and Briggs, and Does 1 through 50, inclusive, and each of them, Plaintiffs have
 14   also suffered the following injuries, including, but not limited to:
 15                   a.    Loss of love, aide, comfort, future support, community, affection,
 16   society, presence, companionship, protection, consortium, counsel, contributions,
 17   accumulations, inheritance and right of inheritance of Decedent Norma Angelica
 18   Guzman, according to proof;
 19                   b.    Loss of economic support of Decedent Norma Angelica Guzman; and
 20                   c.    Funeral and burial expenses according to proof.
 21                                 FIFTH CAUSE OF ACTION
 22     VIOLATION OF THE RALPH CIVIL RIGHTS ACT [Cal. Civ. Code § 51.7]
 23                                    (Against All Defendants)
 24          63.      Plaintiffs hereby incorporate Paragraphs 1 through 62, as though fully set
 25   forth herein.
 26          64.      California Civil Code §51.7 also known as the Ralph Civil Rights Act,
 27   guarantees all persons within the jurisdiction of this state the right to be free from any
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  1   violence committed against their persons because of their race or other protected
  2   characteristic.
  3            65.   Plaintiffs are informed and believes and thereon allege that the incidents
  4   described and referenced in this complaint were motivated by Defendants Officers
  5   McNeely and Briggs and Does 1 through 50, prejudice, disdain and contempt for
  6   Hispanics.
  7            66.   Plaintiffs contend and herein allege that Defendants Officers McNeely and
  8   Briggs, and Does 1 through 50, inclusive, intentionally engaged in the use of excessive
  9   and deadly force upon Decedent Norma Angelica Guzman, and that said excessive and
 10   deadly force was motivated by Decedent Norma Angelica Guzman’s status as a Hispanic-
 11   Latin.
 12            67.   In doing the acts as alleged in this complaint, Defendants Officers McNeely
 13   and Briggs, and Does 1 through 50, knew or should have known that their actions were
 14   likely to injure and kill Decedent Norma Angelica Guzman. Plaintiffs are informed and
 15   believe, and therefore allege that, Defendants Officers McNeely and Briggs and Does 3
 16   through 50, inclusive, intended to cause injury to Decedent Norma Angelica Guzman, and
 17   acted with a wilful and conscious disregard of her rights as secured by California Civil
 18   Code §51.7, thus entitling Plaintiffs to recover punitive damages pursuant to California
 19   Civil Code §52(b)(1).
 20            68.   Defendant Officers McNeely and Briggs and Does 3 through 50, inclusive,
 21   violation of Plaintiffs’ rights as guaranteed by California Civil Code §51.7 entitles them
 22   to compensatory and punitive damages, a $25,000.00 civil penalty, attorneys’ fees, all of
 23   which are provided in California Civil Code §52 and §52.1(b), and are requested below.
 24                                 SIXTH CAUSE OF ACTION
 25      VIOLATION OF THE BANE CIVIL RIGHTS ACT [Cal. Civ. Code § 51.2]
 26                                   (Against All Defendants)
 27            69.   Plaintiffs hereby incorporates Paragraphs 1 through 68, as though fully set
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  1   forth herein.
  2         70.       In doing the acts as alleged in this Complaint, Defendant Officers McNeely
  3   and Briggs, and Does 1 through 50, interfered, and attempted to interfere, by threats,
  4   intimidation and coercion, with Decedent Norma Angelica Guzman’s rights as secured
  5   by California Civil Code §52.1, thus entitling Plaintiffs to recover punitive damages
  6   pursuant to California Civil Code §52(b)(1).
  7         71.       Defendant Officers McNeely and Briggs, and Does 3 through 50, inclusive,
  8   violation of Plaintiffs’ rights as guaranteed by California Civil Code §52.1 entitles them
  9   to compensatory and punitive damages, a $25,000.00 civil penalty, attorneys’ fees, and
 10   injunctive relief, all of which are provided in California Civil Code §52 and §52.1(b), and
 11   are requested below.
 12                               SEVENTH CAUSE OF ACTION
 13            NEGLIGENT HIRING, TRAINING, AND/OR SUPERVISION
 14                                    (Against All Defendants)
 15         72.       Plaintiffs hereby incorporate Paragraphs 1 through 71, as though fully set
 16   forth herein.
 17         73.       Defendant Officers McNeely and Briggs and Does 1 through 50 were unfit,
 18   incompetent, or not properly trained to perform police work for which they were hired
 19   to engage.
 20         74.       Does 31-50 are persons employed by Defendants LAPD, CITY, or both, and
 21   who knew or should have known that Defendants Officers McNeely and Briggs, and
 22   Does 1 through 30 were unfit, incompetent, or not properly trained to perform police
 23   work and that the lack of fitness, incompetence, or improper training created a particular
 24   risk to others and, in this case, risk of death of Decedent Norma Angelica Guzman.
 25         75.       Does’ 31-50 lack of fitness, incompetence, or improper training harmed
 26   Decedent Norma Angelica Guzman causing her death and, as a result thereof, additionally
 27   harmed the Plaintiffs.
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  1         76.    Does’ 31-50 negligence in hiring or training or failing to supervise Officers
  2   McNeely and Briggs, and Does 3 through 30 was a substantial factor in causing the death
  3   of Decedent Norma Angelica Guzman and consequently, the harm to the Plaintiffs.
  4                                           PRAYER
  5         WHEREFORE, Plaintiffs pray for entry of judgment against Defendants, and
  6   each of them, for each cause of action, as follows:
  7         1.     For general damages including, but not limited to, severe emotional distress,
  8                disgust, terror, fright, anger, worry, nervousness, shock, loss of enjoyment
  9                of life, loss of ability to engage in normal and customary activities, loss of
 10                comfort, society, care, love, and companionship;
 11         2.     For other and further special damages in a sum according to proof at the
 12                time of trial;
 13         3.     For other and further general damages in a sum according to proof at the
 14                time of trial;
 15         4.     For funeral and burial expenses of Decedent according to proof;
 16         5.     For all prejudgment interest, according to proof as permitted by law;
 17         6.     For punitive damages in a sum according to proof at the time of trial;
 18         7      For the costs of suit incurred herein;
 19         8.     For pretrial interest, according to statute;
 20         9.     For legal/attorney fees, civil penalties, expenses, and costs incurred herein
 21                in prosecution in the present action to the extent provided by law and 42
 22                U.S.C. 1988 in particular, and
 23         10.    For such other and further relief as the Court may deem just and proper.
 24                                           Respectfully submitted,
                                              BERNARD & BERNARD
 25
                                            /s/ Stephen Bernard
 26   Date: March 24, 2017             By:__________________________________
                                            STEPHEN BERNARD, Esq.
 27                                         Attorneys for Plaintiffs, MARCOS
                                            CASTANEDA, and E.C., a minor
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